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                                                  PUBLISHED

                                     UNITED STATES COURT OF APPEALS
                                         FOR THE FOURTH CIRCUIT


                                                  No. 21-2017


        MARYLAND SHALL ISSUE, INC., for itself and its members; ATLANTIC
        GUNS, INC.; DEBORAH KAY MILLER; SUSAN BRANCATO VIZAS,

                       Plaintiffs - Appellants,

        and

        ANA SLIVEIRA; CHRISTINE BUNCH,

                       Plaintiffs,

        v.

        WES MOORE, in his capacity as Governor of Maryland; WOODROW W. JONES,
        III, Colonel,

                       Defendants - Appellees.

        ------------------------------

        FIREARMS POLICY COALITION, INC.; FPC ACTION FOUNDATION;
        INDEPENDENCE INSTITUTE,

                       Amici Supporting Appellant.


                                                  No. 21-2053


        MARYLAND SHALL ISSUE, INC.; ATLANTIC GUNS, INC.; DEBORAH KAY
        MILLER; SUSAN BRANCATO VIZAS,

                       Plaintiffs - Appellees,
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        and

        ANA SLIVEIRA; CHRISTINE BUNCH,

                    Plaintiffs,

        v.

        WES MOORE, in his capacity as Governor of Maryland; WOODROW W. JONES,
        III, Colonel,

                    Defendants - Appellants.



        Appeals from the United States District Court for the District of Maryland, at Baltimore.
        Ellen Lipton Hollander, Senior District Judge. (1:16-cv-03311-ELH)


        Argued: March 10, 2023                                     Decided: November 21, 2023


        Before AGEE and RICHARDSON, Circuit Judges, and KEENAN, Senior Circuit Judge.


        Reversed by published opinion. Judge Richardson wrote the opinion, in which Judge Agee
        joined. Senior Judge Keenan wrote a dissenting opinion.


        ARGUED: Marc Alexander Nardone, BRADLEY ARANT BOULT CUMMINGS LLP,
        Washington, D.C., for Appellants/Cross-Appellees. Ryan Robert Dietrich, OFFICE OF
        THE ATTORNEY GENERAL OF MARYLAND, Baltimore, Maryland, for
        Appellees/Cross-Appellants. ON BRIEF: Cary J. Hansel, III, Baltimore, Maryland; Mark
        W. Pennak, MARYLAND SHALL ISSUE, INC., Baltimore, Maryland, for
        Appellants/Cross-Appellees. John Parker Sweeney, James W. Porter, III, Connor M. Blair,
        BRADLEY ARANT BOULT CUMMINGS LLP, Washington, D.C., for Appellant/Cross-
        Appellee Atlantic Guns, Inc. Brian E. Frosh, Attorney General, Robert A. Scott, Assistant
        Attorney General, OFFICE OF THE ATTORNEY GENERAL OF MARYLAND,
        Baltimore, Maryland, for Appellees/Cross-Appellants.              David B. Kopel,
        INDEPENDENCE INSTITUTE, Denver, Colorado; Joseph G.S. Greenlee, FPC ACTION
        FOUNDATION, Las Vegas, Nevada, for Amici Curiae.



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        RICHARDSON, Circuit Judge:

               If you live in Maryland and you want a handgun, you must follow a long and

        winding path to get one. Like with any firearms transfer—whether a purchase from a

        licensed dealer, gun show, or private person, or even a gift from a family member or

        friend—you must comply with Maryland’s 77R registration process, which requires you

        to fill out an application with certain identifying information and then wait seven days

        while the state performs a background check. See Md. Code, Pub. Safety §§ 5-117, 118–

        130. And if you want to carry your handgun, you need to get a separate carry permit too.

        See §§ 5-301–314.

               But—for handguns specifically—before you do any of that, there is an additional,

        preliminary step: You must also obtain a “handgun qualification license.” See § 5-117.1.

        Getting that license requires, among other things, submitting fingerprints to undergo a

        background “investigation” and taking a four-hour-long “firearms safety training course”

        in which you must fire at least one live round. Then, after submitting your application for

        this extra license, you must wait up to thirty days for approval before you can start the rest

        of the process.

               Plaintiffs seek to enjoin the state from enforcing only this additional, preliminary

        handgun-licensure requirement. And Plaintiffs’ challenge must succeed. The challenged

        law restricts the ability of law-abiding adult citizens to possess handguns, and the state has

        not presented a historical analogue that justifies its restriction; indeed, it has seemingly

        admitted that it couldn’t find one. Under the Supreme Court’s new burden-shifting test for



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        these claims, Maryland’s law thus fails, and we must enjoin its enforcement. So we reverse

        the district court’s contrary decision.

        I.     Background

               Plaintiffs first brought their Second Amendment challenge to Maryland’s handgun-

        licensure law in 2016. 1 [J.A. 1.] The district court originally dismissed that challenge for

        lack of Article III standing, but we reversed and remanded for a decision on the merits.

        Maryland Shall Issue, Inc. v. Hogan, 971 F.3d 199, 210 (4th Cir. 2020). On remand, the

        district court again rejected Plaintiffs’ claims, this time holding that Maryland’s handgun-

        licensure law did not violate the Second Amendment. 2 So Plaintiffs appealed once more,

        finally presenting us with the merits of their constitutional claims.

               The law at issue—which the parties call the handgun-qualification-license

        requirement—originated as one component of Maryland’s Firearm Safety Act of 2013 and

        is now found at § 5-117.1 of the Maryland Public Safety Code. Section 117.1(b) says that



               1
                There are three groups of plaintiffs: Maryland Shall Issue, Inc., a nonprofit-gun-
        rights membership organization; two individual plaintiffs, Ana Sliveira and Christine
        Bunch, each of whom claims that she would like to own a handgun but has been deterred
        from doing so by Maryland’s law; and Atlantic Guns, Inc., a gun store alleging that its
        customers have been similarly deterred and that it thus has been unable to sell as many
        guns. The suit also originally included two other individual plaintiffs, Deborah Kay Miller
        and Susan Brancato Vizas, who are not parties to this appeal. We will refer to the
        remaining individual plaintiffs collectively as “Plaintiffs.”
               2
                 Through all these decisions, the Governor of Maryland—one of the parties whom
        Plaintiffs sought to enjoin from enforcing the challenged law—was Lawrence (“Larry”)
        Hogan. Now, Maryland’s governor is Wes Moore. Plaintiffs also sued to enjoin the
        Secretary and Superintendent of the Maryland State Police, who was then William M.
        Pallozzi, but is now Woodrow W. Jones, III. For simplicity, we refer to defendants as “the
        state” or “Maryland.”
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        no one may “sell, rent, or transfer a handgun” unless the recipient “presents . . . a valid

        handgun qualification license.”     And § 117.1(c) likewise says that “[a] person may

        purchase, rent, or receive a handgun only if the person . . . possesses a valid handgun

        qualification license.” So, in simple terms, the challenged law imposes criminal liability

        on both parties to a handgun transaction (sale, rental, or gift), unless the recipient has the

        required license. See § 5-117.1(b), (c); see also § 5-144(a)(1) (criminalizing knowing

        participation in the receipt of a regulated firearm in violation of § 5-117.1).

               The law then defines how someone gets such a handgun-qualification license. There

        are four requirements: The applicant must be “at least 21 years old,” he must be “a resident

        of the State,” he must complete a “firearms safety training course,” 3 and he must undergo

        an “investigation”—i.e., a background check—to show that he “is not prohibited by federal




               3
                 The course must be taught by a “qualified handgun instructor” and be at least four
        hours long. § 5-117.1(d)(3)(i). It must involve “classroom instruction” on firearms laws
        and firearm safety, § 5-117.1(d)(3)(ii), and “a firearms orientation component that
        demonstrates the person’s safe operation and handling of a firearm,” § 5-117.1(d)(3)(iii).
        Regulations further require the orientation to include “a practice component in which the
        applicant safely fires at least one round of live ammunition.” Md. Code Regs.
        29.03.01.29(C)(4). The applicant bears the cost of the firearms safety training course as
        well as any range fees for the live-fire requirement. Notably, these costs are not established
        by statute or regulation but by the private entities that administer the firearms safety
        training and, according to the record, can range “anywhere from $50 to in the several
        hundred dollars.” J.A. 973; see also J.A. 961–62.
                Certain people, including former members of the military and armored-car
        company employees, are exempt from the training-course requirement. § 5-117.1(e). And
        current and retired law enforcement officers are exempt from the entire statute. § 5-
        117.1(a)(2).

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        or State law from purchasing or possessing a handgun.” 4 § 5-117.1(d). If an applicant

        meets these four requirements, properly fills out an application, and pays the required $50

        fee, then the Secretary of State Police “shall issue” him a handgun-qualification license

        within thirty days. § 5-117.1(d), (g), (h).

               Plaintiffs argue that this scheme violates the Second Amendment. The district court

        disagreed, holding that it passed intermediate scrutiny. But, after the district court’s

        decision, the Supreme Court decided New York State Rifle and Pistol Association v. Bruen,

        142 S. Ct. 2111 (2022).

               Bruen effected a sea change in Second Amendment law. Before Bruen, the Courts

        of Appeals—including our own—used a two-step interest-balancing framework in

        analyzing firearm regulations. See Bruen, 142 S. Ct. at 2125–26; United States v. Chester,

        628 F.3d 673, 680–83 (4th Cir. 2010). We first asked whether a challenged regulation

        burdened conduct protected by the Second Amendment. Bruen, 142 S. Ct. at 2126;

        Chester, 628 F.3d at 680. If it did, then we would assess the regulation’s constitutionality

        using means-end scrutiny. Bruen, 142 S. Ct. at 2126; Chester, 628 F.3d at 680.

               Yet the Supreme Court held in Bruen that this approach was “one step too many.”

        142 S. Ct. at 2127. In its place, the Court supplied an analysis centered on the Second

        Amendment’s text and history. Id. at 2126–30. The Court explained that “when the Second


               4
                 To complete the background check, the state police submit to the Department of
        Public Safety and Correctional Services “a complete set of the applicant’s legible
        fingerprints.” § 5-117.1(f)(3)(i). The state police require applicants to submit their
        fingerprints with their application. Md. Code Regs. 29.03.01.28(B)(3). As with the
        firearms-safety-training course, the applicant bears the cost and burden of obtaining the
        fingerprints, which, according to the record, can cost $50 or more. See J.A. 967–70.
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        Amendment’s plain text covers an individual’s conduct, the Constitution presumptively

        protects that conduct.”       Id. at 2126.   At that point, the challenged regulation is

        unconstitutional unless the government can show that “the regulation is consistent with this

        Nation’s historical tradition of firearm regulation.” Id. Only then “may a court conclude

        that the individual’s conduct falls outside the Second Amendment’s ‘unqualified

        command.’” Id. (quoting Konigsberg v. State Bar of Cal., 366 U.S. 36, 50 n.10 (1961)).

               Bruen applied this framework to invalidate New York’s “may issue” licensing

        scheme for the concealed carry of handguns. Id. at 2122, 2134–56. It concluded that the

        proposed conduct at issue there, carrying handguns in public for self-defense, was

        presumptively protected by the Second Amendment because the petitioners were “law-

        abiding, adult citizens” and handguns are “weapons ‘in common use’ today for self-

        defense.” Id. at 2134 (quoting District of Columbia v. Heller, 554 U.S. 570, 627 (2008)).

        The Court then examined the historical record assembled by the government and concluded

        that it had not met its burden to establish a historical tradition “of broadly prohibiting the

        public carry of commonly used firearms for self-defense.” Id. at 2138.

               Thus, Plaintiffs’ suit requires us to answer: Does Maryland’s law satisfy Bruen’s

        two-part test?

        II.    Discussion

               Maryland’s law fails the new Bruen test. As we will explain, Plaintiffs have shown

        that Maryland’s handgun-licensure law regulates a course of conduct protected by the




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        Second Amendment, and Maryland has not established that the law is consistent with our

        Nation’s historical tradition.

               A.     Maryland’s law restricts Second Amendment conduct

               The first question Bruen asks is whether Plaintiffs’ proposed course of conduct is

        protected by the Second Amendment’s plain text. See 142 S. Ct. at 2126. The text’s

        “operative clause,” see Heller, 554 U.S. at 577–95, provides that “the right of the people

        to keep and bear Arms, shall not be infringed.” U.S. Const. amend. II. To meet their

        burden at this stage, Plaintiffs must prove two things: (1) that “they are among ‘the people’

        entitled to the right,” and (2) that their proposed “course of conduct” is covered by the

        Second Amendment’s plain text, namely “keeping and bearing arms.” Bruen, 142 S. Ct.

        at 2134.

               At first blush, the answer to this initial question seems obvious. Here, Plaintiffs

        alleged that they are adult citizens who are legally eligible to own firearms. See J.A. 22–

        24 (noting that the plaintiffs “could lawfully purchase and own a handgun” absent the

        challenged law). So they fall within the Amendment’s definition of “the people.” See

        Bruen, 142 S. Ct. at 2134 (noting that “‘the people’ whom the Second Amendment

        protects” includes, at a minimum, “ordinary, law-abiding, adult citizens”). 5 And Plaintiffs

        here say that they seek to own firearms for “lawful purposes,” J.A. 22–24, a point that


               5
                 This is not necessarily to say that “the people” is limited to “ordinary, law-abiding,
        adult citizens.” Post-Bruen, several courts have held that “the people” refers to all
        Americans, and is not limited to ordinary, law-abiding adult citizens. See, e.g., United
        States v. Silvers, No. 5:18-cr-50-BJB, 2023 WL 3232605, at *5–6 (W.D. Ky. May 3, 2023).
        We need not decide the precise scope of “the people” to resolve this case, for Maryland
        does not dispute that Plaintiffs are part of “the people.”
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        Maryland does not contest. Indeed, though the Amendment’s plain text “extends, prima

        facie, to all instruments that constitute bearable arms,” Caetano v. Massachusetts, 577

        U.S. 411, 411 (2016), the Supreme Court has held that the specific weapons here—

        handguns—are protected “arms.” See Heller, 554 U.S. at 629. So there appears to be little

        room for debate on this score.

                 Yet there are a few wrinkles to iron out.      To start, you might note that the

        Amendment’s text protects only the right to “keep and bear” arms. U.S. Const. amend. II.

        But, on its face, the challenged law says nothing about whether Plaintiffs may “keep” or

        “bear” handguns. It only restricts Plaintiffs’ ability to “purchase, rent, or receive” them.

        § 5-117.1(c). How, then, does the law regulate the right to keep and bear arms?

                 The answer is not complicated. If you do not already own a handgun, then the only

        way to “keep” or “bear” one is to get one, either through sale, rental, or gift. And the

        challenged law cuts off all three avenues—at least, for those who do not comply with its

        terms.

                 That brings us to the next wrinkle: The challenged law does not permanently

        prohibit Plaintiffs from acquiring or carrying handguns. Contra Heller, 554 U.S. at 573–

        75; Bruen, 142 S. Ct. at 2122–24. Instead, it imposes certain requirements that they must

        meet before they can obtain a handgun. And those requirements rely on “objective”

        criteria, see Bruen, 142 S. Ct. at 2138 n.9, which Plaintiffs admit that they can satisfy.




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        Once they do so, the law commands that the state “shall issue” them handgun-qualification

        licenses. § 5-117.1(d). 6

               But even though Maryland’s law does not prohibit Plaintiffs from owning handguns

        at some time in the future, it still prohibits them from owning handguns now. In order to

        get a handgun, Plaintiffs still have to follow all of the law’s steps. And, although they will

        be able to complete each one, it is impossible to do so right away. Plaintiffs can’t receive

        a license to legally acquire a handgun until the state reviews their applications, which can

        take up to thirty days. 7 See § 117.1(g), (h)(1). So, no matter what Plaintiffs do, there will

        be a period of up to thirty days where their ability to get a handgun is completely out of

        their control. In other words, though it does not permanently bar Plaintiffs from owning

        handguns, the challenged law deprives them of that ability until their application is

        approved, no matter what they do.



               6
                  As a shall-issue law, Maryland’s handgun-qualification license is unlike the “may
        issue” licensure regime in Bruen, which afforded government officials substantial
        “discretion to deny licenses” if the applicant had not shown a “special need” for them. 142
        S. Ct. at 2122–24. Maryland did impose a may-issue regime for its handgun-carry license.
        See § 5-306(a)(6)(ii). But this type of law is precisely what Bruen rejected. See 142 S. Ct.
        at 2124 n.2. So, after Bruen, Maryland courts have declined to enforce the carry-licensure
        law’s discretionary component as unconstitutional. See In re Rounds, 279 A.3d 1048, 1052
        (Md. Ct. Spec. App. 2022).
               7
                  That thirty days doesn’t count the time needed to obtain and complete the
        application, to complete the instructional course and live-fire requirement, and to obtain
        the approved set of fingerprints that the handgun-qualification-license law requires. Nor
        does it count the time that it would take to comply with Maryland’s separate 77R
        registration process, which is required before every firearms transfer. See § 5-117. That
        separate registration process demands that Plaintiffs submit certain identifying information
        to the state and then wait up to an additional seven days while the state conducts a
        background check before they can finally purchase a handgun. See §§ 5-118–130.
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               Our question at Bruen’s first step is simply whether Plaintiffs have made a prima

        facie case that the challenged law violates the Second Amendment. So they just need to

        show that the law regulates a course of conduct that falls within the Amendment’s plain

        text, i.e., their ability “to possess and carry weapons in case of confrontation.” Heller, 554

        U.S. at 592. Nothing in the Amendment’s text or Bruen says that it protects only against

        laws that permanently deprive people of the ability to keep and bear arms. 8 Cf. Bruen, 142


               8
                 The dissent thinks differently. According to the dissent, “a regulation is covered”
        by the Second Amendment “only if an individual can show that the regulation has
        ‘infringed’” his “Second Amendment right to keep or right to bear arms.” Diss. Op. at 30.
        And that right is only infringed, on the dissent’s view, if the government wholly or
        effectively bans that individual from possessing or carrying firearms. See Diss. Op. at 30,
        36 n.9. So at Bruen’s first step, the dissent would have us (or, more particularly, the district
        court) engage in a “fact-intensive” inquiry to determine whether a regulation sufficiently
        burdens Plaintiffs’ right to keep and bear arms. Diss. Op. at 34-38. If it does not, then the
        government need not justify its regulation based on history and tradition.
               But this stilted construction of the word “infringed” lacks grounding in original
        meaning, history, and Bruen itself. The dissent cherry-picks dictionary definitions, yet
        those same dictionaries define “infringe” to contemplate burdens that fall short of total
        deprivations. Compare Samuel Johnson, 1 Dictionary of the English Language 1101 (4th
        ed. 1773) (“Johnson”) (defining “infringe” as “[t]o destroy; to hinder” (emphasis added)),
        and Noah Webster, American Dictionary of the English Language (1828) (“Webster”)
        (defining “infringe” as “[t]o destroy or hinder” (emphasis added)), with Johnson at 1007
        (defining “to hinder” as “to cause impediment”), and Webster (defining “hinder” as “to
        obstruct for a time” and “[t]o interpose obstacles or impediments”). So too do other sources
        that the Supreme Court has used to interpret the right. See 1 St. George Tucker,
        Blackstone’s Commentaries 143 n.40 (1803) (“The right of the people to keep and bear
        arms shall not be infringed . . . and this without any qualification as to their condition or
        degree . . . .” (emphasis added)); Nunn v. State, 1 Ga. 243, 251 (1846) (“The right of the
        whole people . . . to keep and bear arms . . . shall not be infringed, curtailed, or broken in
        upon, in the smallest degree.” (third emphasis added)); see also Heller, 554 U.S. at 594–
        95, 612 (relying on Tucker and Nunn to interpret the Second Amendment). Moreover,
        nineteenth century state courts traditionally entertained Second Amendment challenges
        even to laws that merely regulated, rather than completely destroyed, the right. See, e.g.,
        State v. Reid, 1 Ala. 612, 616 (1840) (upholding a law prohibiting bodies of men from
        parading with firearms because it was a reasonable regulation and analogous to laws
        (Continued)
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        S. Ct. at 2134 (“Nothing in the Second Amendment’s text draws a home/public distinction

        with respect to the right to keep and bear arms.”). Yet, under the challenged scheme, an

        applicant without a firearm cannot possess or carry one until they are approved—a process

        that can take thirty days. And the law’s waiting period could well be the critical time in

        which the applicant expects to face danger. So the temporary deprivation that Plaintiffs

        allege is a facially plausible Second Amendment violation. 9



        prohibiting the carrying of concealed weapons); see also William Baude &amp; Robert Leider,
        The General Law Right to Bear Arms, 99 Notre Dame L. Rev. (forthcoming 2024)
        (manuscript at 18) (explaining that state courts considered challenges to laws regulating
        the right, even when those laws did not totally abridge the right). Finally, Bruen itself
        contemplated suits over laws that impose burdens that fall short of total bans. 142 S. Ct.
        at 2133 (explaining how courts should approach challenges to designated sensitive places).
                None of this means that we require no nexus between a law and a proposed course
        of conduct. Bruen seems to require that a law is a “regulation” of protected conduct, which
        entails some burden on or hindrance to its exercise. See 142 S. Ct. at 2126. We need not
        and do not now decide where to draw this line. All we need to decide today is that Second
        Amendment scrutiny is not exclusively reserved for laws that wholly or effectively prohibit
        firearm possession. If a law regulates an individual’s conduct, and his conduct falls within
        the scope of the Second Amendment, then that law must be justified by resort to history
        and tradition. And in this case, Maryland’s law clearly regulates Plaintiffs’ right to keep
        and bear arms.
               9
                 Maryland and the dissent make much of Bruen’s Footnote Nine. But that footnote
        does not bless Maryland’s law. While the footnote preemptively threw cold water on any
        “shall issue” regimes “put towards abusive ends” such as those that result in “lengthy wait
        times” or “exorbitant fees,” it did not say those were the only types of unconstitutional
        “shall issue” regimes. In other words, the Court suggested that the Second Amendment
        barred—at a minimum—certain “shall issue” schemes; but it did not say whether that floor
        was also a ceiling.
                Plaintiffs now ask us to answer that open question. In doing so, it would be poor
        judicial practice to “read a footnote” in a Supreme Court case to “establish the general rule”
        for that case. United States ex rel. Schutte v. SuperValu Inc., 143 S. Ct. 1391, 1403 n.6
        (2023). Bruen was not shy about telling lower courts how to handle Second Amendment
        challenges: We turn to the Amendment’s “text,” “informed by history,” and by “the
        historical tradition that delimits the outer bounds of the right.” Bruen, 142 S. Ct. at 2127.
        (Continued)
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               Accordingly, Maryland’s law regulates conduct that falls within the Second

        Amendment’s plain text. Plaintiffs’ challenge thus satisfies the first step of Bruen’s test,

        and we must proceed to the second step: Has Maryland shown that its law is justified by

        history and tradition?




        So if we have to choose between the outcome dictated by text, history, and tradition and
        the outcome hinted at in dicta, it is no contest: Text, history, and tradition wins every time.
                And even if we were to piece together a directive, it would have little bearing on the
        regulation before us. As an initial matter, the dissent mistakenly reads this footnote as
        pertaining to Bruen’s first, rather than its second, step. See Diss. Op. at 34–38. This is not
        the case. Footnote Nine is appended to a sentence explaining that there is no historical
        support for preventing law-abiding citizens from publicly carrying weapons simply
        because they cannot show a special need—a step two inquiry. Bruen, 142 S. Ct. at 2138.
        The footnote then explains that shall-issue regimes are different because, unlike may-issue
        regimes, they do not “necessarily prevent” law-abiding citizens from exercising Second
        Amendment rights. Id. at 2138 n.9. So the Court here was comparing the burdens may-
        and shall-issue regimes impose for purposes of identifying historical analogues to justify
        them, not to explain when the Second Amendment is triggered in the first place. See id. at
        2133 (“[W]hether modern and historical regulations impose a comparable burden on the
        right of armed self-defense and whether that burden is comparably justified are ‘central’
        considerations when engaging in an analogical inquiry.” (emphasis in original) (quoting
        McDonald v. City of Chicago, 561 U.S. 742, 767 (2010))). In other words, the Court was
        simply clarifying that the mere fact that may-issue regimes fail the history test does not
        mean that most shall-issue regimes automatically fail that test too. This is but an invitation
        for courts to examine these laws against the historical record at step two, which is precisely
        what we do here.
                And even if we stretch the Court’s language to actually bless most shall-issue public
        carry regimes, this says little about shall-issue regimes that limit handgun possession
        altogether. A restriction on whether someone can even possess a firearm in or out of the
        home is more burdensome than one that only limits his right to carry that firearm publicly.
        See Heller, 554 U.S. at 628 (“the home” is “where the need for defense of self, family, and
        property is most acute”). Bruen tells us that the relative burden a law imposes is “central”
        to step two’s analogical reasoning. See 142 S. Ct. at 2133 (quoting McDonald, 561 U.S.
        at 767). So even if Bruen green-lighted similar but less burdensome restrictions, like some
        shall-issue carry regimes, we are still obligated to independently compare more
        burdensome restrictions, like shall-issue possession regimes, against the historical record.
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               B.     Maryland has not shown that “history and tradition” justify such a
                      restriction

               Maryland has not met its burden. At Bruen’s second step, Maryland must provide

        historical evidence that justifies its law. To do this, it may identify a “historical analogue”

        demonstrating that its law falls within a historically recognized exception to the right to

        keep and bear arms. See Bruen, 142 S. Ct. at 2132–33. But the two historical examples

        that Maryland cites are not “relevantly similar” to the challenged law. Id. at 2132. And it

        has offered no other historical evidence to justify its law. Indeed, Maryland admitted at

        oral argument that it had not presented a proper historical analogue for the challenged law,

        noting that it had identified no Founding-era laws that “required advance permission”

        before a citizen could purchase a firearm. Oral Arg. at 23:05 – 23:29; see also Oral Arg.

        at 31:22 – 31:35.

                      1.      A historical tradition of prohibiting “dangerous” people from
                              owning firearms does not justify Maryland’s law

               Maryland’s historical evidence is scant at best. It first asserts that its law is justified

        by the “historical limitations” on the ability of “dangerous” people to own firearms. See

        Appellee’s Br. at 32–33. But Maryland points to no historical laws for support. Instead, it

        cites various provisions of the modern U.S. Code that prohibit certain categories of

        people—including felons, see 18 U.S.C. § 922(g)(1), those addicted to a controlled

        substance, see § 922(g)(3), and those convicted of a domestic violence misdemeanor, see

        § 922(g)(9)—from owning firearms. See Appellee’s Br. at 32–33. Maryland simply

        assumes that those federal prohibitions are justified by a historical “dangerousness”

        exception; and because, Maryland says, the challenged law is ostensibly designed to

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        prevent those same groups of people from acquiring handguns, it also falls within the same

        “dangerousness” exception.

               Though Maryland has not mustered independent historical support for a

        “dangerousness” exception, other judges have thoroughly canvassed the historical record.

        See, e.g., Kanter v. Barr, 919 F.3d 437, 453–64 (7th Cir. 2019) (Barrett, J., dissenting);

        Folajtar v. Att’y Gen., 980 F.3d 897, 913–20 (3d Cir. 2020) (Bibas, J., dissenting). And

        they tend to agree that history and tradition support an exception affording legislatures “the

        power to prohibit dangerous people from possessing guns.” Kanter, 919 F.3d at 451

        (Barrett, J., dissenting); see also Foljatar, 980 F.3d at 912 (Bibas, J., dissenting). But even

        if the modern federal prohibitions that Maryland cites are all constitutional—because they

        fit within a historical tradition allowing states to prohibit “dangerous” people from owning

        firearms 10—that says nothing about Maryland’s law. That is because its law is not

        “relevantly similar” to the laws allegedly comprising that tradition.

               Bruen is clear that a historical analogue only justifies a modern law if the two are

        “relevantly similar.” 142 S. Ct. at 2132. The “metrics” that we use to decide whether two

        laws are “relevantly similar” are (1) “how” and (2) “why the regulations burden a law-

        abiding citizen’s right.” Id. at 2133. In other words, we ask (1) “whether modern and



               10
                  Even among judges who accept a historically grounded “dangerousness”
        exception, there is less agreement that these modern U.S. Code provisions fit within it.
        Compare, e.g., Range v. Att’y Gen., 69 F.4th 96, 106 (3d Cir. 2023) (en banc) (holding that
        § 922(g)(1) violates the Second Amendment, as applied to a particular nonviolent felon),
        with United States v. Jackson, 69 F.4th 495, 502 (8th Cir. 2023) (concluding “that there is
        no need for felony-by-felony litigation regarding the constitutionality of § 922(g)(1)”
        under the Second Amendment).
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        historical regulations impose a comparable burden on the right,” and (2) “whether that

        burden is comparably justified.” Id.

               Here, Maryland suggests that the justification may well be the same: prevent

        dangerous people from getting weapons. But the burden is markedly different. The

        historical “dangerousness” laws targeted people already deemed dangerous by the state and

        subjected them to penalties if they possessed firearms. See Folajtar, 980 F.3d at 914

        (Bibas, J., dissenting). Maryland’s law operates through an entirely different mechanism.

        It does not merely identify a dangerous group of people and prohibit them from acquiring

        handguns; other statutes already occupy that field. See, e.g., Md. Code, Pub. Safety § 5-

        133. Instead, it prohibits all people from acquiring handguns until they can prove that they

        are not dangerous. So Maryland’s law burdens all people—even if only temporarily—

        rather than just a class of people whom the state has already deemed presumptively

        dangerous.

               The point is that different mechanisms often impose different burdens. And courts

        must consider the mechanism that the challenged law chooses to carry out its goal when

        evaluating whether it is “relevantly similar” to a historical law. Cf. United States v. Silvers,

        No. 5:18-cr-50-BJB, 2023 WL 3232605, at *14 (W.D. Ky. May 3, 2023) (noting that the

        asserted historical analogues “acted through similar mechanisms” as the challenged law);

        Bruen, 142 S. Ct. at 2131 (“[W]hen a challenged regulation addresses a general societal

        problem that has persisted since the 18th century. . . [and] earlier generations addressed the

        societal problem . . . through materially different means, that [ ] could be evidence that a

        modern regulation is unconstitutional.”).

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                The modern federal laws that Maryland has cited, and the historical laws allegedly

        supporting a tradition of prohibiting dangerous people from owning firearms, all acted

        through one mechanism: punishing certain classes of supposedly “dangerous” people if

        they don’t give up their arms or prove they are not dangerous. See Silvers, 2023 WL

        3232605, at *11–12 (discussing historical laws). But that is a different mechanism than

        making every person seek the government’s permission before they can even acquire arms.

        Preemptively disarming every person until they can each prove that they are not dangerous

        burdens a far broader swath of people.

                It is not our place, as a court, to judge a law’s wisdom or weigh competing policy

        values. After all, “[t]he Second Amendment is the very product of an interest balancing

        by the people.” Bruen, 142 S. Ct. at 2131 (cleaned up). If they disapprove, then the people

        can draw a different balance using Article V’s amendment process. But, under the Second

        Amendment’s current balance, Maryland’s law cannot survive. Even assuming a historical

        tradition of prohibiting “dangerous” people from owning firearms, Maryland chose a

        different mechanism, and thus imposed different burdens, from the historical analogues

        that it asserts.

                           2.    A historical tradition of requiring militia training does not justify
                                 Maryland’s law

                Maryland’s second argument is that its law is justified by a historical tradition of

        laws requiring training for members of the militia. For support, Maryland cites Founding-

        era state and federal militia laws. See Appellee’s Br. at 34–37. But its argument is without

        merit, as these Founding-era laws placed no restrictions on acquiring or owning firearms.


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        Militia-training laws did not burden a Second Amendment right at all, and so they cannot

        be “relevantly similar” to Maryland’s law.

               Many colonies and early states required—with some exceptions—that all able-

        bodied men of a certain age participate in the militia. See Hirschfeld v. ATF, 5 F.4th 407,

        428–30 (4th Cir. 2021) (discussing these militia laws), vacated as moot by 14 F.4th 322
        (4th Cir. 2021). And they generally required members of the militia to provide their own

        weapons and show up for regular training. See Hirschfeld, 5 F.4th at 428–29 n.28. But

        these militia laws never conditioned keeping or bearing arms on participation in militia

        training.

               Accordingly, these militia-training laws imposed no burden on the right of keeping

        and bearing arms. Instead, the service burden that these laws imposed was divorced from

        gun ownership. You could not get out of training just by ditching your weapon. (Indeed,

        that would open you up to even more sanctions.) And just because you owned a weapon

        did not mean that you had to train. If you were a woman or older man who owned arms,

        for instance, there was no need to appear on the parade grounds. You only had to train if

        you were in the militia. In other words: These laws imposed a service obligation on

        militiamen, not gun owners. That obligation applied regardless of whether you owned a

        weapon. So none of these militia laws placed any restriction on gun ownership.

               Consider, for example, New Jersey, which in 1778 passed a law requiring members

        of the militia to “assemble, properly armed and accoutred, twice in the Year, at such Times

        and Place or Places as the Field-Officers, or a Majority of them, shall direct for the Purpose

        of Training and Exercise.” 1778 N.J. Sess. Laws 42, 46 § 15. And “in case of Absence”

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        from the training, the law imposed a monetary penalty based on rank. Id. New Jersey’s

        law likewise imposed a monetary penalty on militia members who failed to acquire the

        proper arms and ammunition. See id. at 45 §§ 11 &amp; 12.

               Another example is Delaware, which passed a similar militia-training law in 1782.

        That law provided that the militia “shall be duly exercised and instructed once in every

        Month,” 1782 Del. Sess. Laws 1, 3 § 5, and required its members to bring their own

        firearms. Id. § 6. Like New Jersey, Delaware imposed monetary penalties on any

        militiaman failing to keep his arms “by him at all Times, ready and fit for Service,” id., and

        who “shall neglect or refuse to appear on the Parade . . . not having reasonable excuse.”

        Id. at 4 § 7. In summary, these laws sanctioned militia members both for failing to show

        up for training and for failing to bring their own arms. You could not evade those sanctions

        if you didn’t have a weapon. And just because you had one didn’t necessarily subject you

        to them.

               Thus, these militia-training laws are not a valid historical analogue justifying

        Maryland’s law. Militia-training laws imposed no burden on the right to keep and bear

        arms. They did not condition possessing and carrying arms on attending militia training.

        Nor did they limit in any way an individual’s ability to acquire a firearm. These laws

        placed service burdens on being in the militia, not on being a gun owner. And, because

        they imposed a different burden, the militia-training laws are not “relevantly similar” to

        Maryland’s law. See Bruen, 142 S. Ct. at 2133.

               Maryland has identified no other traditions that could serve as a historical analogue,

        nor has it presented any other evidence that the challenged law “is consistent with this

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        Nation’s historical tradition of firearm regulation.” Bruen, 142 S. Ct. at 2126. So it has

        not met its burden under Bruen, and its law cannot survive Plaintiffs’ Second Amendment

        challenge. 11

                                            *              *             *

               In Maryland, if you are a law-abiding person who wants a handgun, you must wait

        up to thirty days for the state to give you its blessing. Until then, there is nothing you can

        do; the issue is out of your control. Maryland has not shown that this regime is consistent

        with our Nation’s historical tradition of firearm regulation. There might well be a tradition

        of prohibiting dangerous people from owning firearms.                But, under the Second

        Amendment, mechanism matters. And Maryland has not pointed to any historical laws

        that operated by preemptively depriving all citizens of firearms to keep them out of



               11
                   The dissent chastises us for declining to remand this case to the district court to
        reconsider its decision in light of Bruen. But there is no reason to do so here. To start,
        Maryland did not ask for a remand, and did not even address the possibility until
        specifically asked about it at oral argument. See Oral Arg. at 17:49 – 18:42. While remand
        often makes sense when additional facts are needed, cf. Humphrey v. Humphrey, 434 F.3d
        243, 248 (4th Cir. 2006) (noting that remand is appropriate when the record permits more
        than one resolution of a factual issue), those kinds of factual questions are not at issue here.
        See Oral Arg. at 19:06 – 19:30 &amp; 37:30 – 38:23. Similarly, though a remand might be
        appropriate to determine whether a statute were severable, Maryland disavowed a
        severability argument. See Oral Arg. at 25:13 – 25:27 &amp; 26:52–27:00. The dissent claims
        that Maryland only did so because it thought the law was completely constitutional, but
        this is just another way of saying that the state put all its eggs in one basket—and lost.
        Whether by disavowal or failure to argue, the government abandons an argument by failing
        to raise it on appeal. And we will not give the state yet another chance to identify more
        historical analogues, especially when it has explicitly declined to ask us for it. “Courts are
        [ ] entitled to decide a case based on the historical record compiled by the parties.” Bruen,
        142 S. Ct. at 2130 n.6. The parties fully briefed the issue of historical analogues. We will
        not return the parties to the district court just to push more paper around. Cf. id. at 2135
        n.8.
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        dangerous hands. Plaintiffs’ challenge thus must succeed, and the district court’s contrary

        decision must be

                                                                                      REVERSED.




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        BARBARA MILANO KEENAN, Senior Circuit Judge, dissenting:

               In this facial constitutional challenge to a non-discretionary handgun permitting law,

        the majority fundamentally misapplies Bruen. 1 The majority bases its holding on the

        premise that if a law affects a prospective handgun purchaser’s ability to obtain a handgun

        “now,” the law is presumptively unconstitutional. This sweeping rule flies directly in the

        face of Bruen’s discussion of non-discretionary “shall-issue” laws and is not supported by

        any Supreme Court precedent. Simply stated, the majority’s hyperaggressive view of the

        Second Amendment would render presumptively unconstitutional most non-discretionary

        laws in this country requiring a permit to purchase a handgun (permitting laws).

               In defending this result, the majority attempts to pound a square peg into a round

        hole by treating the non-discretionary “shall-issue” law before us no differently than a

        discretionary “may-issue” law. This pounding maneuver fails to account for the material

        differences between “may-issue” and “shall-issue” laws, distinctions that the Supreme

        Court warned in Bruen would require additional consideration in determining the

        constitutionality of shall-issue regimes. By failing to incorporate into the Bruen framework

        these analytical distinctions, my colleagues reach the very result the Supreme Court

        cautioned against in Bruen, namely, casting aside a shall-issue permitting law because the

        statute results in some delay to a prospective buyer who wishes to purchase a handgun.

               In reaching its conclusion, the majority also rushes to final judgment, bypassing the

        district court’s fundamental role of weighing the evidence in this mixed question of law


               1
                   N.Y. State Rifle &amp; Pistol Ass’n, Inc. v. Bruen, 142 S. Ct. 2111 (2022).
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        and fact. And, doubling down on this lack of judicial restraint, the majority strikes down

        an entire statute without even a passing reference to the presumption of severability

        afforded to the statute under Maryland law. I respectfully dissent.

                                                      I.

               There are at least two reasons to remand this case to the district court for application

        of Bruen. First, Bruen was decided in 2022, almost one year after the district court’s

        decision. Lacking the benefit of this decision, the district court used the then-applicable

        analytical framework ultimately rejected in Bruen. Moreover, in Bruen, the Supreme Court

        cautioned that shall-issue laws like the one before us fall within a category of laws

        analytically and factually distinct from the may-issue New York law reviewed there. 142

        S. Ct. at 2138 n.9. As a result, the district court should be required to conduct a newly

        tailored evidentiary inquiry and an analysis extending well beyond the bare-bones

        framework used by the majority.

               Second, Maryland law instructs that the statute requiring the handgun qualification

        license (the HQL requirement) enjoys a presumption of severability, so any

        unconstitutional provision in one part of that statute would not necessarily affect the

        validity of its remaining portions. Md. Code, Gen. Prov. § 1-210. The district court is

        better situated than this Court to undertake the severability analysis in the first instance.

                                                      A.

               At issue here is the facial constitutionality of a Maryland law, duly enacted by the

        Maryland General Assembly, that allows any law-abiding, responsible person to obtain the



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        handgun qualification license required by the state. Md. Code, Pub. Safety § 5-117.1. 2 In

        the district court, the plaintiffs argued that the HQL requirement violates the Second

        Amendment. 3 Faithfully applying our then-binding precedent in Kolbe v. Hogan, 849 F.3d

        114 (4th Cir. 2017) (en banc), the district court (1) considered whether the HQL

        requirement imposed a burden on conduct falling within the scope of the Second

        Amendment and, after concluding that it did, (2) analyzed whether the government had

        shown that the HQL requirement was “reasonably adapted to a substantial governmental

        interest,” as required to satisfy the intermediate scrutiny standard of review. See Kolbe,

        849 F.3d at 133 (citation omitted). In a thorough and well-reasoned opinion in August

        2021 applying this standard to the parties’ cross-motions for summary judgment, the

        district court held that the HQL requirement was constitutional.

               In June 2022, however, the Supreme Court in Bruen articulated a new analytical

        framework for consideration of Second Amendment challenges.                 There, the Court

        addressed a Second Amendment challenge to a century-old New York state statute known

        as the “Sullivan Law.” 142 S. Ct. at 2122. Under that “public carry” law, any law-abiding,

        responsible person who sought a license to carry a firearm outside of his home or place of

        business for self-defense had to prove first that “proper cause exist[ed]” to issue the license.


               2
                 This provision was not affected by the Maryland General Assembly’s recent
        amendments to other firearms laws. See 2023 Md. Laws Ch. 651 (H.B. No. 824) (effective
        Oct. 1, 2023).
               3
                  The Second Amendment is made applicable to the states through the Fourteenth
        Amendment. See McDonald v. Chicago, 561 U.S. 742, 791 (2010). For consistency with
        the district court opinion and the majority opinion, I refer only to the Second Amendment
        in this dissenting opinion.
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        Id. at 2122–23. Although “proper cause” was not defined by the statute, New York courts

        had interpreted the phrase as requiring “a special need for self-protection distinguishable

        from that of the general community.” Id. at 2123 (quoting In re Klenosky, 75 A.D.2d 793,

        793 (N.Y. App. Div. 1980)). The Supreme Court referred to this New York law, and laws

        in other states with similar proper-cause standards, as “may-issue” laws. Id. at 2123–24.

               In assessing whether New York’s may-issue public carry law violated the Second

        Amendment, the Court rejected the two-step, means-based framework that we had applied

        in Kolbe. Although the Supreme Court acknowledged that Courts of Appeals “had

        coalesced” around this means-based framework, the Court instead developed a new

        framework based on its interpretation of Heller.        Id. at 2125–26.    Under this new

        framework, a law is unconstitutional under the Second Amendment only if: (1) the plaintiff

        shows that the plain text of the Second Amendment protects an individual’s course of

        conduct (step one), and (2) the government fails to show that the challenged regulation is

        “consistent with this Nation’s historical tradition of firearm regulation” (step two). Id. at

        2129–30.

               Although the plaintiffs in the present case broadly had asked the district court to

        consider the Second Amendment’s “text, history, and tradition,” the plaintiffs did not

        present to the court the information required under the nuanced framework outlined in

        Bruen, or the evidence that would have been necessary to apply Bruen to a shall-issue law.

        Typically, when a district court applies an analytical framework that later has been

        abrogated by the Supreme Court, our practice is to remand the case for the district court to

        consider the newly articulated framework in the first instance. See, e.g., Firewalker-Fields

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        v. Lee, 58 F.4th 104, 111, 121–23 (4th Cir. 2023) (remanding Establishment Clause

        challenge “to allow the district court to grapple with the history-and-tradition test in the

        first instance” under the Supreme Court’s new framework); see also Carlton &amp; Harris

        Chiropractic, Inc. v. PDR Network, LLC, 982 F.3d 258, 264 (4th Cir. 2020) (“As we have

        said many times before, we are a court of review, not of first view.” (quoting PDR Network,

        LLC v. Carlton &amp; Harris Chiropractic, Inc., 139 S. Ct. 2051, 2056 (2019))).

               Here, however, my colleagues have decided not to allow this process to run its

        natural course. Instead, the majority applies the new Bruen framework in the first instance,

        short-circuiting a process designed to prevent the exact type of rushed decision-making

        implemented here. The majority characterizes its refusal to allow the district court to

        consider these issues in the first instance as an exercise in judicial efficiency. Maj. Op., at

        20 n.11 (“We will not return the parties to the district court just to push more paper

        around.”). But it is dangerous, not efficient, to establish precedent based on a record

        lacking the information necessary to answer the many questions that a district court must

        address under the Supreme Court’s new framework.

                                                      B.

               Critically, the majority fails to grapple substantively with the implications of the

        Supreme Court’s discussion in Bruen of shall-issue regimes. In Bruen, the Court first

        compared New York’s may-issue public carry law to the public carry laws in other states,

        noting that only six other jurisdictions had may-issue regimes similar to New York’s,

        “under which authorities have discretion to deny concealed-carry licenses even when the

        applicant satisfies the statutory criteria, usually because the applicant has not demonstrated

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        cause or suitability for the relevant license.” 142 S. Ct. at 2123–24. The Court then

        elaborated on the distinct character of shall-issue regimes, explaining that “the vast

        majority of states,” forty-three, are “shall[-]issue” jurisdictions in which “authorities must

        issue concealed-carry licenses whenever applicants satisfy certain threshold requirements,

        without granting licensing officials discretion to deny licenses based on a perceived lack

        of need or suitability.” Id. at 2123. The Court continued:

               To be clear, nothing in our analysis should be interpreted to suggest the
               unconstitutionality of the 43 States’ “shall-issue” licensing regimes, under
               which “a general desire for self-defense is sufficient to obtain a
               [permit].” Because these licensing regimes do not require applicants to show
               an atypical need for armed self-defense, they do not necessarily prevent
               “law-abiding, responsible citizens” from exercising their Second
               Amendment right to public carry. Rather, it appears that these shall-issue
               regimes, which often require applicants to undergo a background check or
               pass a firearms safety course, are designed to ensure only that those bearing
               arms in the jurisdiction are, in fact, “law-abiding, responsible citizens.” And
               they likewise appear to contain only “narrow, objective, and definite
               standards” guiding licensing officials, rather than requiring the “appraisal of
               facts, the exercise of judgment, and the formation of an opinion”—features
               that typify proper-cause standards like New York’s. That said, because any
               permitting scheme can be put toward abusive ends, we do not rule out
               constitutional challenges to shall-issue regimes where, for example, lengthy
               wait times in processing license applications or exorbitant fees deny ordinary
               citizens their right to public carry.

        Id. at 2138 n.9 (citations omitted). For ease, I refer to this passage as the “shall-issue

        discussion.”

               In the shall-issue discussion, the Court made explicit what any reader already would

        have discerned, namely, that the plaintiffs in Bruen had not challenged the constitutionality

        of a shall-issue law and, accordingly, that such laws would not necessarily be invalidated

        by the Court’s holdings regarding New York state’s may-issue public carry law. Moreover,


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        the Court provided explicit cautionary language, warning that the Court’s opinion about

        may-issue regimes should not be interpreted as “suggest[ing] the unconstitutionality of

        . . . ‘shall-issue’ licensing regimes,” and adding that such regimes do not “necessarily

        prevent ‘law-abiding, responsible citizens’” from exercising their Second Amendment

        rights. 4 Id. at 2138 n.9.

               Like the shall-issue regimes contemplated by the Supreme Court in Bruen, the HQL

        requirement allows any law-abiding, responsible person who seeks to obtain a handgun

        qualification license to do so by completing the objective criteria outlined in the statute.

        The state does not retain any governmental discretion or ability to exercise judgment with

        regard to an individual’s application for a handgun qualification license, and the state may

        not deny an individual a license once the statutory requirements have been satisfied.

               Naturally, because of the time required to complete this application process,

        individuals who decide today that they want to purchase their first handgun likely will not

        be able to leave the store with one in hand. Those applicants must first pay a fee, submit a

        set of their fingerprints, and complete certain firearm safety training requirements. Md.



               4
                 In discussing the purpose and character of the shall-issue laws that predominate
        the public carry landscape in the United States, the majority in Bruen identified as typical
        components background checks and firearms safety courses. Id. In his concurring opinion,
        Justice Kavanaugh, joined by Chief Justice Roberts, provided additional examples of other
        components of generally “constitutionally permissible” shall-issue laws, including
        fingerprinting, mental health records checks, and training in laws regarding the use of
        force. Id. at 2162 (Kavanaugh, J., concurring). After he underscored the distinction drawn
        by the majority between shall-issue and may-issue laws, Justice Kavanaugh unequivocally
        stated that “the 43 States that employ objective shall-issue licensing regimes for carrying
        handguns for self-defense may continue to do so.” Id.

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        Code, Pub. Safety, § 5-117.1.      But as the shall-issue discussion makes clear, these

        objective, non-discretionary components of a standard regulatory scheme generally are

        constitutionally permissible.

               Indeed, in Bruen the Supreme Court observed that shall-issue laws “often” require

        that applicants complete a background check or a firearms safety course. 142 S. Ct. at

        2138 n.9. And even though compliance with these objective, non-discretionary conditions

        necessarily results in some delay, the Court stated that it was not “suggest[ing] the

        unconstitutionality of” such requirements. Id.

               Offering a contrasting example, the Court cautioned that it did not “rule out

        constitutional challenges to shall-issue regimes” for which “lengthy wait times . . . or

        exorbitant fees deny ordinary citizens their right to public carry.” Id. (emphasis added).

        The difference between a facially permissible shall-issue regime and a facially

        impermissible shall-issue regime thus is not whether any burden is imposed or any delay

        results from the regulatory measures, but whether any requirements imposed by the regime

        are so onerous that they operate to “deny” law-abiding, responsible individuals their

        Second Amendment rights.

               Here, the question whether the burden imposed by the HQL requirement “infringes”

        the rights of law-abiding, responsible individuals requires a distinct analysis as part of

        Bruen’s step-one “plain text” inquiry. The Second Amendment provides:

               A well regulated Militia, being necessary to the security of a free State, the
               right of the people to keep and bear Arms, shall not be infringed.




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        U.S. Const. amend. II (emphasis added). Consistent with the Supreme Court’s guidance

        on the scope of the Second Amendment as it applies to shall-issue schemes, under the plain

        text of the Second Amendment a regulation is covered only if an individual can show that

        the regulation has “infringed” the individual’s exercise of his Second Amendment right to

        keep or right to bear arms.

               What does the word “infringed” mean in the context of the Second Amendment?

        The Supreme Court has not directly answered this question because the Court has never

        been required to do so. In the Court’s seminal Second Amendment decisions, the Court

        has considered only laws that banned or effectively banned individuals from possessing or

        carrying firearms.     In District of Columbia v. Heller, the Court addressed the

        constitutionality of a District of Columbia statutory scheme that banned handgun

        possession in the home. 554 U.S. 570, 628 (2008) (“The handgun ban amounts to a

        prohibition of an entire class of ‘arms’” and “extends . . . to the home.”). In McDonald v.

        Chicago, the Court addressed the constitutionality of Chicago laws that “effectively

        bann[ed] handgun possession by almost all private citizens who reside in the City.” 561

        U.S. 742, 750 (2010). And in Bruen, the Court addressed a New York law under which

        the state had denied the petitioners’ applications for unrestricted public carry licenses, thus

        prohibiting the petitioners from carrying handguns in public for self-defense because they

        had failed to persuade a governmental official that they had a special need to do so. 142

        S. Ct. at 2156. The bans in Heller, McDonald, and Bruen thus did not compel a separate




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        inquiry regarding whether a law “infringes” a law-abiding, responsible person’s right to

        keep and bear arms. 5

               The majority acknowledges that, under the “operative clause” of the Second

        Amendment, the right to keep and the right to bear arms “shall not be infringed.” Maj.

        Op., at 8. But the majority wholly avoids the type of textual analysis previously used by

        the Supreme Court to determine the meaning of terms and phrases appearing in the Second

        Amendment. See, e.g., Heller, 554 U.S. at 579, 581, 595, 597.

               In its truncated step-one inquiry, the majority fails to define the term “infringe” or

        otherwise to address its scope.     Instead, the majority merely asks whether the law

        “regulates” an individual’s course of conduct. Maj. Op., at 11. Unsurprisingly, the answer

        to this question will almost always be “yes.” But the majority has not identified any basis

        for employing the term “regulates,” which notably does not appear in the Supreme Court’s

        Bruen framework, in place of the Second Amendment’s term “infringe.” Nevertheless, the

        majority invokes this substitute terminology, summarily concluding that the government

        must justify the “temporary deprivation” occasioned by the HQL requirement under step

        two of the Bruen inquiry because the law prevents the plaintiff “from owning handguns

        now.” Maj. Op. at 10 (emphasis in original) &amp; 12.

               Put differently, under the majority’s step-one view, the plaintiffs allege a “facially

        plausible Second Amendment violation” simply because compliance with the law’s



               5
                 Nor did the Supreme Court’s decision in Caetano v. Massachusetts, require an
        evaluation of this separate issue. 577 U.S. 411, 411 (2016) (assessing the constitutionality
        of a Massachusetts law prohibiting the possession of stun guns).
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        requirements renders it “impossible” for the plaintiffs to own a handgun “right away.” Maj.

        Op., at 10. Accordingly, the majority has created a constitutional test that would render

        presumptively unconstitutional most, if not all, shall-issue permitting laws. 6

               In addition to its failure to analyze the plain text of the Second Amendment, the

        majority seeks to minimize the effect of the Supreme Court’s shall-issue discussion. First,

        the majority relies on a footnote in a different Supreme Court case to argue that “it would

        be poor judicial practice to ‘read a footnote’ in a Supreme Court case to ‘establish the

        general rule’ for that case.” Maj. Op., at 12 n.9 (quoting United States ex rel. Schutte v.

        SuperValu Inc., 143 S. Ct. 1391, 1403 n.6 (2023)). But the Court’s inclusion of text in a


               6
                 I observe that many of the shall-issue public carry laws cited by the Supreme Court
        in Bruen set forth permissible processing periods either comparable to or longer than the
        30-day processing period provided in the HQL requirement. See Ala. Code § 13A–11–75
        (Cum. Supp. 2021) (30 days); Alaska Stat. § 18.65.700 (2020) (30 days); Ariz. Rev. Stat.
        Ann. § 13–3112 (Cum. Supp. 2021) (75 days); Colo. Rev. Stat. § 18–12–206 (2021) (90
        days); Fla. Stat. § 790.06 (2021) (90 days); Idaho Code Ann. § 18–3302K (Cum. Supp.
        2021) (90 days); Ill. Comp. Stat., ch. 430, § 66/10 (West Cum. Supp. 2021) (90 days); Ky.
        Rev. Stat. Ann. § 237.110 (Cum. Supp. 2021) (60 days for paper application, 15 days for
        electronic application); Me. Rev. Stat. Ann., tit. 25, § 2003 (Cum. Supp. 2022) (30 days
        for resident of five years or more, 60 days for other residents and nonresidents); Mich.
        Comp. Laws § 28.425b (2020) (45 days); Miss. Code Ann. § 45–9–101 (2022) (45 days);
        Mo. Rev. Stat. § 571.101 (2016) (45 days); Mont. Code Ann. § 45–8–321 (2021) (60 days);
        Neb. Rev. Stat. § 69–2430 (2019) (45 days); N.D. Cent. Code Ann. § 62.1–04–03 (Supp.
        2021) (60 days); Ohio Rev. Code Ann. § 2923.125 (2020) (45 days); Okla. Stat., tit. 21, §
        1290.12 (2021) (60 days, if background check does not reveal any relevant records); 18 Pa.
        Cons. Stat. § 6109 (Cum. Supp. 2016) (45 days); S.C. Code Ann. § 23–31–215(A) (Cum.
        Supp. 2021) (90 days); Tex. Govt. Code Ann. § 411.177 (West Cum. Supp. 2021) (60
        days); Utah Code § 53–5–704.5 (2022) (60 days); Va. Code Ann. § 18.2–308.04 (2021)
        (45 days); Wash. Rev. Code § 9.41.070 (2021) (30 days); W. Va. Code Ann. § 61–7–4
        (2021) (45 days if background checks are completed); Wyo. Stat. Ann. § 6–8–104 (2021)
        (60 days); see also JA 125 ¶ 13 (declaration of Maryland State Police Captain Andy
        Johnson) (stating that, “[t]hrough the first quarter of calendar year 2018, there were no
        completed HQL applications pending disposition for longer than 15 days”).

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        footnote makes it no less a part of the Court’s opinion. And even without adopting the

        precise text of the Court’s shall-issue discussion as a “general rule,” it is sound practice for

        us to examine and refer to the Court’s discussion of shall-issue regimes when analyzing

        the Bruen framework in the context of the HQL requirement, because the Supreme Court

        has provided this substantive guidance for consideration of future challenges to shall-issue

        statutes. 7

                The majority, however, passes over the text of the shall-issue discussion, offering

        another view that elevates form over substance. According to the majority, the shall-issue

        discussion relates only to Bruen’s step-two historical inquiry, because the Supreme Court

        inserted the footnote containing the shall-issue discussion after explaining why the New

        York law failed the second step of the Bruen framework. Maj. Op., at 13 n.9. The entire

        substance of the shall-issue discussion, however, corresponds directly with a step-one

        “infringement” analysis, and the Court did not refer in that discussion to any of the

        hallmarks of a step-two inquiry, such as the history of shall-issue laws or the question

        whether such laws are “relevantly similar” to historical regulations. See Bruen, 142 S. Ct.

        at 2132–33. Thus, it is not surprising that the Court, in the course of explaining its



                7
                 The majority acknowledges that the HQL requirement is a shall-issue law. See
        Maj. Op., at 10 n.6. To the extent that the majority seeks to dispense with the Supreme
        Court’s shall-issue discussion as dicta, I observe that “we routinely afford substantial, if
        not controlling deference to dicta from the Supreme Court.” Manning v. Caldwell for City
        of Roanoke, 930 F.3d 264, 281–82 (4th Cir. 2019) (en banc) (“[L]ower courts grappling
        with complex legal questions of first impression must give due weight to guidance from
        the Supreme Court, so as to ensure the consistent and uniform development and application
        of the law.”). Such consideration is especially warranted when, as here, the substantive
        dictum addresses the very issue before us.
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        conclusion why the may-issue New York law was unconstitutional, added this footnote to

        emphasize the limits of its holding.

               Next, the majority attempts to frame the Supreme Court’s shall-issue discussion as

        irrelevant because the New York law at issue in Bruen was a restriction on “public carry,”

        while Maryland’s law “limit[s] handgun possession altogether.” Maj. Op., at 13 n.9

        (emphasis omitted). But this distinction turns on a false premise, namely, that there is a

        difference between the Second Amendment right to keep arms and the Second Amendment

        right to bear arms. Neither the text of the Second Amendment nor the Supreme Court’s

        precedent supports such a reading. 8 Thus, the majority cannot discard the language in the

        Court’s shall-issue discussion on the basis that the Court was addressing only shall-issue

        public carry laws.

               The majority nevertheless declines to address the detailed substance of the

        shall-issue discussion, perhaps because that discussion generally counsels a measured,

        fact-intensive approach to the consideration of constitutional challenges to shall-issue


               8
                  A permitting or public carry law may have a more direct effect on either the right
        to keep or the right to bear arms. The Supreme Court, however, has discussed the
        importance of these rights in tandem, drawing no distinction between them in establishing
        the applicable Second Amendment framework or the relative strength of each as a
        constitutional right. Under the new Bruen framework, a court very well may conclude
        under step two that the historical tradition of laws relating to the right to possess firearms
        differs from the historical tradition of laws relating to the right to carry those firearms in
        public. But this step requires the court to conduct a detailed inquiry by which the court
        first must identify, at a minimum, the burden a particular regulation imposes and the
        justification for that regulation. Only then may the court compare this burden and
        justification to the historical analogues identified by the parties, determining whether the
        burden imposed by, and the justification provided for, the modern regulation is “relevantly
        similar” to the historical analogues. Bruen, 142 S. Ct. at 2132.

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        regimes. The shall-issue discussion plainly signals the Supreme Court’s thinking that,

        going forward, successful constitutional challenges to shall-issue statutes ordinarily will be

        limited to challenges involving uniquely burdensome requirements such as “lengthy wait

        times in processing license applications” or “exorbitant fees.” See Bruen, 142 S. Ct. at

        2138 n.9. The majority’s contrary conclusion here, invalidating an entire shall-issue statute

        as facially unconstitutional without any discussion whether the statute’s requirements

        infringe every permit applicant’s constitutional rights, thus runs directly against Bruen’s

        clear guidance on shall-issue regimes. Id.; see also Wash. State Grange v. Wash. State

        Republican Party, 552 U.S. 442, 449 (2008) (explaining that “a plaintiff can only succeed

        in a facial challenge” by establishing “that the law is unconstitutional in all of its

        applications”).

               Shall-issue laws allow individuals with “a general desire for self-defense” to obtain

        a permit to possess or carry a firearm. Bruen, 142 S. Ct. at 2138 n.9. Although such laws

        may impose conditions that result in some delay in acquiring or bearing a firearm, they do

        not require a discretionary governmental determination regarding firearm possession or

        carry, and they generally do not prevent law-abiding, responsible individuals from

        exercising their Second Amendment rights. Id.

               The district court is best suited to conduct a Bruen step-one “plain text” inquiry in

        the first instance to determine whether any requirements imposed by a shall-issue regime

        “infringe” an individual’s Second Amendment rights. The Supreme Court’s shall-issue

        discussion has provided clear guidance that an “infringement” of an individual’s Second

        Amendment rights would require a greater impediment than a simple processing delay,

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        firearms training, or the imposition of an administrative fee. 9 But like most judges, I am

        not a historian or a linguist capable of considering the full reach of this Second Amendment

        term in its historical context. Moreover, the parties have not cited the testimony of any

        expert who purports to have these qualifications. On remand, the parties should be allowed

        to compile, and the district court should have the opportunity to consider, the interpretive

        tools that the Supreme Court has relied on in other cases to determine the meaning of

        constitutional terms in the new framework set forth by Bruen, while bearing in mind the

        Supreme Court’s warning that material differences exist between may-issue and shall-issue

        regimes. See Heller, 554 U.S. at 579, 581, 595, 597 (referring to Founding-era dictionaries,

        the context in which the language was used, a comparison of other uses of similar language

        in the Constitution, the 18th-century meanings as compared to the modern meanings, and

        the use of such language in other written documents from the Founding era); Cawthorn v.


               9
                  Notably, some definitions from the Founding era of the term “infringe” support
        the construction that the Supreme Court appeared to endorse in its discussion of shall-issue
        regimes, namely, that a particular provision will “infringe” an individual’s rights under the
        plain text of the Second Amendment only if the statutory condition is so burdensome that
        it ultimately prevents law-abiding, responsible individuals from possessing or bearing a
        handgun. Samuel Johnson, 1 Dictionary of the English Language 1101 (4th ed. 1773)
        (hereinafter Johnson) (defining “infringe” as “[t]o violate; to break laws or contracts” or
        “[t]o destroy; to hinder”); N. Webster, American Dictionary of the English Language
        (1828) (hereinafter Webster) (same); Heller, 554 U.S. at 581, 584 (citing Johnson and
        Webster to determine the meaning of “arms” and “bear”). Particularly when compared to
        our modern understanding of “infringe” as a “gradual but clearly identifiable” violation of
        a right, these Founding era definitions seem to require a greater intrusion. On ‘Infringe,’
        ‘Encroach,’ and ‘Impinge’, Merriam-Webster, https://www.merriam-webster.com/words-
        at-play/infringe-encroach-impinge-usage-difference           [https://perma.cc/LE8U-PAA7];
        Infringe,      Merriam-Webster,        https://www.merriam-webster.com/dictionary/infringe
        [https://perma.cc/234C-JT3N] (defining “infringe” as “to encroach upon in a way that
        violates . . . the rights of another,” while noting that a secondary, “obsolete” definition is
        to “defeat” or “frustrate”).
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        Amalfi, 35 F.4th 245, 256 (4th Cir. 2022) (“‘[C]onstitutional interpretation’—like statutory

        construction—involves ‘familiar principles’ (such as ‘careful examination of the textual,

        structural, and historical evidence put forward by the parties’) that are the bread-and-butter

        of judicial work.” (citation omitted)).

               After resolving this textual inquiry, the district court next should be required to

        address whether any of the components of the HQL requirement rise to the level of

        “infringement,” a fact-specific inquiry that again distinguishes this case from Bruen. A

        determination whether the shall-issue permitting law at issue here “infringes” the Second

        Amendment rights of law-abiding, responsible individuals likely will require consideration

        of several material factors, such as the extent of any delay imposed and the amount of costs

        incurred from compliance with the law. See United States v. Salerno, 481 U.S. 739, 745

        (1987) (“A facial challenge to a legislative Act is, of course, the most difficult challenge to

        mount successfully, since the challenger must establish that no set of circumstances exists

        under which the Act would be valid.”). Applying Bruen in this new context, the step-one

        inquiry is not a purely legal question but is a mixed question of law and fact requiring

        factual development before the district court.

               For these reasons, I would remand this case to the district court for a step-one

        analysis under Bruen of the plain text of the Second Amendment in the context of shall-

        issue regimes, and for consideration whether any components of the HQL requirement rise




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        to the level of “infringement” of the plaintiffs’ Second Amendment rights. 10 Depending

        on the district court’s analysis and resolution of these issues, the district court also may be

        required to conduct a step-two analysis under Bruen.

                                                      C.

               Finally, my colleagues’ analytical error under step one is compounded by their

        refusal to remand this case for consideration of the severability of any unconstitutional

        component in the HQL requirement, which consideration mandates a fact-specific,

        intent-driven analysis under state law. See Leavitt v. Jane L., 518 U.S. 137, 139 (1996).

        Under Maryland law, “the provisions of all statutes enacted after July 1, 1973, are

        severable,” and “[t]he finding by a court that part of a statute is unconstitutional or void

        does not affect the validity of the remaining portions of the statute, unless the court finds

        that the remaining valid provisions alone are incomplete and incapable of being executed

        in accordance with the legislative intent.” Md. Code, Gen. Prov. § 1-210. Maryland law

        thus affords many state statutes, including the HQL requirement, a presumption of

        severability.

               In addition, courts are required to discern whether “the legislative body would have

        enacted the statute or ordinance if it knew that part of the enactment was invalid.” Cnty.

        Council of Prince George’s Cnty. v. Chaney Enterprises Ltd. P’ship, 165 A.3d 379, 394

        (Md. 2017) (citation omitted). Accordingly, even when a legislature expressly provides


               10
                 Under this view of the case, I do not reach step two of the Bruen framework,
        which would need to be addressed by the district court only if it found that the plaintiffs’
        proposed course of conduct is “infringed” by any component of the HQL requirement.

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        that a state statute is severable, disputes may arise regarding whether the other portions will

        remain valid. See, e.g., Ayotte v. Planned Parenthood of N. New England, 546 U.S. 320,

        331 (2006).

                  Here, the district court rejected the plaintiffs’ facial constitutional challenge to the

        HQL requirement, applying the two-step framework we established in Kolbe, 849 F.3d at

        132, to determine that each component of the HQL requirement was constitutionally

        permissible. Because the district court upheld the constitutionality of the entire statute, the

        court did not need to address whether any individual component of the HQL requirement

        was severable.

                  Unsurprisingly, at oral argument before us, the government argued that it had not

        addressed severability in its brief because, in the government’s view, the entire statute

        passed constitutional muster. Oral Arg., at 25:12–25:22. Thus, the record on appeal lacks

        any discussion by the district court or any argument from the parties regarding severability.

                  The Supreme Court has cautioned that “federal courts are not ideally positioned to

        address such a sensitive issue of state constitutional law” as severability, counseling that

        we “may therefore be well advised to consider certifying such a question to the State’s

        highest court.”      Carney v. Adams, 141 S. Ct. 493, 503–04 (2020) (Sotomayor, J.,

        concurring). And in other instances, the Supreme Court has remanded such questions “for

        the lower courts to determine legislative intent in the first instance.” E.g., Ayotte, 546 U.S.

        at 331.

                  These principles are even more compelling in the context of facial constitutional

        challenges like the one brought by the plaintiffs in this case. Such challenges “run contrary

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        to the fundamental principle of judicial restraint that courts should neither anticipate a

        question of constitutional law in advance of the necessity of deciding it nor formulate a

        rule of constitutional law that is broader than is required by the precise facts to which it is

        to be applied.” United States v. Miselis, 972 F.3d 518, 530 (4th Cir. 2020) (quoting Wash.

        State Grange, 552 U.S. at 450–51). Moreover, these challenges “threaten to short circuit

        the democratic process by preventing laws embodying the will of the people from being

        implemented in a manner consistent with the Constitution.” Id. (citation omitted). Since

        Bruen, the state and federal trial courts have not had “occasion to construe the [HQL

        requirement] in the context of actual disputes,” nor to “accord the law a limiting

        construction to avoid constitutional questions.” Wash. State Grange, 552 U.S. at 450. I

        thus part with my colleagues’ decision to avoid the issue of severability, 11 and would

        remand this question for consideration by the district court upon its application of Bruen.


               11
                  The majority acknowledges that “remand might be appropriate to determine
        whether a statute were severable,” but declines to further address the issue because, in the
        majority’s view, the government “disavowed a severability argument.” Maj. Op., at 20
        n.11 (citing Oral Arg., at 25:13 – 25:27 &amp; 26:52–27:00). The majority mischaracterizes
        the government’s position.
               At oral argument, Judge Richardson asked government counsel, “But [the HQL
        requirement] rises or falls together?” Oral Arg., at 25:22–25:24. Government counsel
        responded, “I, I think that’s, I think that’s . . . .” Oral Arg., at 25:25–25:27. Government
        counsel did not finish this sentence, and later admitted that the government was “not
        necessarily prepared to address severability” as “it was not something [the government
        had] argued.” Oral Arg., at 26:52–27:00.
               Contrary to the majority’s interpretation, the government’s decision not to address
        severability in its brief is not a “disavow[al]” of the severability argument. Maj. Op., at 20
        n.11. Rather, this decision reflects the government’s position, consistent with the district
        court’s holdings, that the entire HQL requirement was constitutional. It is imprudent to
        use the government’s silence on this issue to ignore the “normal rule that partial, rather
        than facial, invalidation is the required course.” Brockett v. Spokane Arcades, Inc., 472
        (Continued)
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                                                      II.

               The district court in this case has not had the opportunity to apply the new,

        fact-intensive Bruen framework or to consider severability principles under Maryland law,

        and there is no legitimate reason to short-circuit the judicial process and to prevent the

        development of the record in the district court. Moreover, remand is especially appropriate

        here, when the plaintiffs bring a facial constitutional challenge to a statute that falls into a

        class of laws already identified by the Supreme Court as meaningfully distinct from the

        firearms bans addressed in the Court’s prior cases.

               In sum, my colleagues turn their back on the shall-issue discussion in Bruen. As a

        result, unable to pound a “shall-issue” law into a framework designed for a “may-issue”

        regime, the majority fails to produce a legally defensible and workable template for the

        analysis of “shall-issue” laws. And we are left with the lingering question why the majority

        ignores the Court’s clear guidance on the very issue before us.




        U.S. 491, 504 (1985); see Legal Servs. Corp. v. Velazquez, 531 U.S. 533, 559 (2001)
        (Scalia, J., dissenting) (“Although no party briefed severability in Denver Area Ed.
        Telecomms. Consortium, Inc. v. FCC, 518 U.S. 727 (1996), the Justices finding partial
        unconstitutionality considered it necessary to address the issue.”).
                                                      41
